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       In the United States Court of Federal Claims
                                           No. 01-669C

                                       (Filed: July 10, 2009)
                                            __________
 BENJAMIN & SHAKI ALLI AND
 BSA CORPORATION,

                        Plaintiffs,

      v.
 THE UNITED STATES,

                        Defendant.
                                            _________

                                            ORDER
                                           __________

        On April 15, 2009, the court granted prior counsel for plaintiffs’ motion to withdraw as
attorney of record in this case because of a breakdown in the attorney-client relationship. In that
same order, the court directed plaintiffs’ to secure new counsel by May 4, 2009, as RCFC
83.1(a)(3) prohibits BSA Corporation, a corporate entity, from proceeding pro se. On May 6,
2009, the court granted plaintiffs’ motion to extend the deadline for obtaining new counsel by
sixty days to July 6, 2009. On July 7, 2009, the court received plaintiffs’ current motion for
unspecified additional time to obtain new counsel or for a court-appointed attorney.

        Although the court’s May 6, 2009, order indicated that no further enlargements of time
would be granted for plaintiff’s to secure a new attorney, the court is reluctant to proceed while
plaintiffs lack the benefit of counsel. However, if plaintiff fails to secure counsel, the fact
remains that the court, on motion of defendant, may enter default judgment against plaintiff for
up to the full amount of the government’s counterclaims. Accordingly:

       1.      Plaintiffs’ motion for enlargement of time to obtain new counsel is hereby
               GRANTED, in part;

       2.      On or before July 27, 2009, plaintiffs shall secure new counsel and that
               counsel shall file a notice of appearance as attorney of record in this case;

       3.      On or before August 3, 2009, counsel for the parties shall file a joint status
               report indicating how this case should proceed;
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4.   On or before September 10, 2009, counsel for plaintiffs shall file a
     response to defendant’s motion for summary judgment;

5.   If plaintiffs fail to secure counsel by the required deadline, the court
     will entertain a motion by defendant for entry of default judgment on
     the government’s counterclaims pursuant to RCFC 55; and

6.   The Clerk shall mail this order to plaintiffs at the following address: P.O.
     Box 36081, Grosse Pointe, Michigan, 48236.

IT IS SO ORDERED.


                                                   s/ Francis M. Allegra
                                                   Francis M. Allegra
                                                   Judge




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